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 UNITED STATES DISTRICT COURT
 WESTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,



                                                                          Hon. Hugh B. Scott
                                  v.
                                                                               10CR184S

                                                                                 Order
 ANTONIO BRIGGS, et al.,

                                  Defendants.


       Before the Court is the Government’s motion to reconsider the Order (Docket No. 362)

compelling production of unredacted version of certain wiretap applications and Orders (Docket

No. 3761). Familiarity with the Order sought to be reconsidered (Docket No. 362) and previous

discovery Orders in this prosecution is presumed. Responses to this motion were due by

March 6, 2012, and the motion was submitted (without oral argument) as of that date (Docket

No. 378). Defendants jointly moved for extensions of time to respond (Docket Nos. 384, 392)

which was granted, giving them until March 15, 2012, to respond (Docket No. 393), which

defendants again jointly2 did (Docket No. 396).

       Also pending are various objections and appeals to prior decisions of this Court (see

Docket No. 374) or the parties sought extension of time to appeal (see Docket Nos. 368, 369

(Government motions for stay pending appeal and for extension of time to move to reconsider),



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           The Government initially filed this motion, Docket No. 375, but it was unsigned.
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        Included among the responding defendants was Justin McTigue, Docket No. 396. This
Court has recused as to McTigue, Docket No. 401.
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364, 372 (joint defense motions); Docket Nos. 365 (Order granting defense motion), 370 (Order

granting Government’s motion extending time to move), 371 (Order granting stay pending

appeal), 373 (scheduling Order)).

                                         BACKGROUND

        This arises in an alleged criminal conspiracy to distribute cocaine and cocaine mixture

(Docket No. 202, 3d Superseding Indict.). Defendants sought unredacted versions of the wiretap

applications and Orders and the Government refused, arguing the safety of the confidential

informants (see generally Docket No. 362, Order of Jan. 18, 2012, at 2-4). This Court ordered

the Government to produce unredacted versions of these documents (id. at 5-63).

        The Government now seeks reconsideration of this Order, contending that this Court

failed to appropriately balance the Government’s interest in protecting the identities and security

of its informants and uncharged defendants, and that this Court failed to address the burden

defendants had under Rovairo v. United States, 353 U.S. 53 (1957), to overcome the

Government’s privilege against disclosing the identity of informants required by this disclosure

(Docket No. 376, Gov’t Memo. at 2, 6). The Government remains steadfast to its contentions

that the identity of these informants and uncharged defendants needs to be preserved for their

safety and security, hence the wiretap applications and Orders were redacted to preserve their

safety and security (id. at 4-5).




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         This Order also ordered production of defendant John Cruz’ recorded conversations he
had with his girlfriend while he was in the Niagara County Jail, Docket No. 362, Order of
Jan. 18, 2012, at 6-9. The Government does not object to this portion of the Order, Docket
No. 376, Gov’t Memo. at 1 n.1.

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       In addition to moving for reconsideration, the Government served supplemental discovery

consisting of a new redacted version of the wiretap applications and wiretap Orders. These

documents had fewer redactions than were in its initial disclosure. (Id. at 8; See letter of

Assistant U.S. Attorney Mary Baumgarten to defense counsel, Chambers, Feb. 21, 2012 (cover

letter for produced redacted documents); see also letter of Assistant U.S. Attorney Baumgarten to

Chambers, Feb. 21, 2012 (cover letter for unredacted documents)). For comparison purposes, the

Government again submitted in camera the unredacted applications and Orders. The new

redactions eliminate the names of non-party confidential informants, uncharged defendants, and

other sources, their telephone numbers and other identifiers. In one application, for example, the

Government also redacts the birth dates and Social Security numbers of interceptees (both

defendants and others). The Government includes statements by Ard to unidentified informant(s)

that were redacted from the initial production.

       Defendants counter that the Government failed to articulate the standard for

reconsideration and, applying the standard of this Court from United States v. Amanuel,

No. 05CR6075, 2006 WL 266560, at *1 (W.D.N.Y. Jan. 31, 2006), the Government failed to

either provide any legal argument why the decision was erroneous or raise factual issues

overlooked by this Court (Docket No. 396, Defs. Memo. at 2-3). They deny the Government’s

asserted informer’s privilege to authorize redactions made by the Government generally (id. at 3-

5), arguing on several grounds for full disclosure of the unredacted warrant and wire tape

applications, including Rule 16 and Title III requirements (id. at 5-7). They do not consider the

amended redactions the Government proposes to serve instead of the initial discovery provided.




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                                           DISCUSSION

I.     Reconsideration Standard

       The Federal Rules of Criminal Procedure makes no express provision for reconsideration.

Judge Larimer in another case held that the Magistrate Judge there had the “discretion to

reconsider or reopen prior proceedings which precipitated” the Magistrate Judge’s decision,

United States v. Florack, 155 F.R.D. 49, 51 (W.D.N.Y. 1994). In Florack, the Government

sought reconsideration (pursuant to then Federal Rule of Criminal Procedure 12(f)4) by

Magistrate Judge Fisher of his refusal to allow the Government to argue an otherwise defaulted

suppression motion, id. at 50-51; see id. at 51-52 (Report & Rec. of Fisher, Mag. J.). Judge

Siragusa of this Court held in Amanuel, supra, 2006 WL 266560, at *1 (W.D.N.Y. Jan. 31,

2006), that the civil standard for reconsideration is applicable in criminal cases, that the standard

for reconsideration is “strict” and reconsideration “will generally be denied unless the moving

party can point to controlling decisions or data that the court overlooked–matters, in other words,

that might reasonably be expected to alter the conclusion reached by the court,” id. (internal

quotations and citations omitted) (see Docket No. 396, Defs. Memo. at 2).

II.    Application

       As defendants note, the Government points to no legal error for reconsideration. The

only new facts asserted by the Government are its revised redactions and expressly noting the

efforts of the families of some defendants in the summer of 2010 to try to identify informants,

with family members meeting, comparing information with already disclosed information to

learn identities and retaliate against them (Docket No. 376, Gov’t Memo. at 5-6). Although this


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           Now, in part, Federal Rule of Criminal Procedure 12(e).

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representation that the informants face tangible danger and even with the revised redacted

version of the applications the Government proposes to disclose, this Court denies

reconsideration of its prior Order.

       Under Roviaro, the Government has a privilege to withhold disclosure of the identity of

informants (see Docket No. 376, Gov’t Memo. at 2-3), “the purpose of the privilege is the

furtherance and protection of the public interest in effective law enforcement. The privilege

recognizes the obligation of citizens to communicate their knowledge of the commission of

crimes to law-enforcement officials and, by preserving their anonymity, encourages them to

perform that obligation,” 353 U.S. at 59. The scope of this privilege is limited; “thus, where the

disclosure of the contents of a communication will not tend to reveal the identity of an informer,

the contents are not privileged,” id. at 60. This privilege is also limited by “the fundamental

requirements of fairness,” that is “where the disclosure of an informer’s identity, or of the

contents of his communication, is relevant and helpful to the defense of an accused, or is

essential to a fair determination of a cause, the privilege must give way,” id. at 60-61. The

examples the Roviaro Court cites for disclosure is where an anonymous informant is used as the

source of probable cause for a warrantless search or where the informant was helpful in setting

up the commission of the crime and was present at its occurrence, id. at 61-62. This Court needs

to balance “the public interest in protecting the flow of information against the individual’s right

to prepare his defense,” id. at 62. The identity of an informant is provided if the informant is a

key witness or a participant in the crime charged, United States v. Saa, 859 F.2d 1067, 1073 (2d

Cir. 1988) (id. at 3). The Government argues that participation by the informant in the offense




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and relevance of the information has to be plead by the defendant before the informant is

identified (id.).

        The original Order made that balance and found that the initial redactions deleted so

much information that defendants could not prepare their defense, particularly Ard and his

redacted statements. The revised redactions produce Ard’s statements made to the unidentified

persons, meeting the Court’s chief objection to the first version of the redaction (cf. Docket

No. 362, Order of Jan. 18, 2012, at 5-6). But even with reduced quantity of redactions,

defendants still do not have material helpful for their defense or disclosure of Title III recordings

and their background documents the Government intends to introduce at trial. But to meet the

Government’s safety concern, disclosure of this material is to be attorney’s eyes only.

        The Government may retrieve the unredacted and newly redacted documents submitted to

the undersigned.

                                          CONCLUSION

        For the reasons stated above, the Government’s motion for reconsideration (Docket

No. 376) of the Order (Docket No. 362) compelling production of unredacted versions of wiretap

applications and Orders is denied. The Government is to produce but for attorney’s eyes only.

        The Government shall arrange to retrieve submitted documents from the Chambers of the

undersigned.

        So Ordered.
                                                                 /s/ Hugh B. Scott
                                                              Honorable Hugh B. Scott
                                                              United States Magistrate Judge

Dated: Buffalo, New York
       April 10, 2012

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